      Case 2:06-cr-00390-WBS Document 140 Filed 03/04/09 Page 1 of 2


 1   DOUGLAS I. HORNGRAD
     Attorney at Law
 2   California State Bar No. 95086
     1736 Stockton Street
 3   Maybeck Building Four
     San Francisco, California 94133
 4   Telephone: (415) 397-9509
     Facsimile: (415) 397-9519
 5
     Attorney for Defendant
 6   ZHI XUE
 7
 8                              UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Criminal No. 2:06-cr-0390 EJG
12                 Plaintiff,
                                                          STIPULATION AND ORDER TO
13          v.                                            VACATE AND RESET COURT
                                                          APPEARANCE
14   ZHI XUE,
15              Defendant.
     _____________________________/
16
17
18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19   Heiko Coppola, counsel for plaintiff, and Douglas Horngrad, counsel for Zhi Xue, that, with
20   regard to defendant Zhi Xue only, Mr. Xue’s March 13, 2009, court appearance be vacated
21   and reset for May 15, 2009, at 10:00 a.m., or as soon thereafter as is convenient for the Court.
22   The stipulated reset is requested because counsel have a few remaining details to resolve
23   before sentencing.
24          Counsel for defendant contacted United States Probation Officer Linda Dillon and she
25   confirmed that she is available for the requested new court appearance. Counsel for
26   defendant has contacted Court Interpreter Coordinator Yolanda Riley Portal and she
27   //
28   //
      Case 2:06-cr-00390-WBS Document 140 Filed 03/04/09 Page 2 of 2


 1   confirmed that a Cantonese interpreter is available for the requested new date and time.
 2
 3   Dated: February 3, 2009                          /s/ Douglas Horngrad
                                                      DOUGLAS HORNGRAD
 4                                                    Attorney for Defendant
                                                      ZHI XUE
 5
 6
     Dated: February 3, 2009                          /s/ Heiko Coppola
 7                                                    HEIKO COPPOLA
                                                      Counsel for Plaintiff
 8
 9
10         IT IS SO ORDERED
11
12
13
     Dated: March 3, 2009                     /s/ Edward J. Garcia
14                                            HON. EDWARD J. GARCIA
                                              Senior United States District Court Judge
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